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                   IN THE UNITED STATES DISTRICT COURT FOR THE                               FILED
                                                                                           OPEK' COURT

                              EASTERN DISTRICT OF VIRGINIA
                                                                                      MAY - 6
                                        Alexandria Division
                                                                                 CLERK, U.S. DISTRICT COUfir
                                                                                     ALEXANDRIA. VIRGliViA

UNITED STATES OF AMERICA                             FILED UNDER SEAL


    V.                                               Case No. I:2I-cr-114


DIOGO SANTOS COELHO,                                 Count 1: Conspiracy to Commit Access
    a/k/a "Omnipotent"                               Device Fraud
    a/k/a "Downloading"                              (18U.S.C. § 1029(b)(2))
    a/k/a "Shiza"
    a/k/a "Kevin Maradona"                           Count 2: Access Device Fraud — Using or
                                                     Trafficking in an Unauthorized Access
    Defendant.                                       Device
                                                     (18 U.S.C.§ 1029(a)(2) and 2)

                                                     Count 3: Access Device Fraud —
                                                     Possession of Fifteen or More Unauthorized
                                                     Access Devices
                                                     (18U.S.C. § 1029(a)(3) and 2)

                                                     Counts 4-5: Access Device Fraud —
                                                     Unauthorized Solicitation
                                                     (18U.S.C. § 1029(a)(6) and 2)

                                                     Count 6: Aggravated Identity Theft
                                                     (18U.S.C. § 1028A)

                                                     Forfeiture Notice




                                         INDICTMENT


                            May 2021 Term—at Alexandria, Virginia

         THE GRAND JURY CHARGES THAT:


                                       General Allegations

         At all times material to this Indictment:
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        1.     Defendant DIOGO SANTOS COELHO (a/k/a "Omnipotent,""Downloading,"

"Shiza," and "Kevin Maradona"), was a Portuguese national who resided in Portugal.

        2.     From at least in or around January 1,2015 to the present, COELHO controlled

and operated the website www.Raidforums.com (the "RaidForums website"). COELHO used

the monikers "Omnipotent" and "Downloading" on the RaidForums website and operated the

RaidForums website with the help of Administrators.

        3.     The RaidForums website was hosted on a server located outside the United States.

        4.     The RaidForums website served as a platform where members could solicit for

sale, sell, and purchase contraband, including stolen access devices as defined in Title 18, United

States Code, Section 1029(e)(1), and means of identification as defined in Title 18, United States

Code, Section 1028(d)(7), hacking tools, and illegal services, such as hacking for hire.

        5.     An individual could access the RaidForums website without a membership.

However, an individual had to sign up for a membership to solicit items for sale or purchase

items. The RaidForums website offers four tiers of membership options, including in order of

cost:(1)free membership;(2) VIP membership;(3)MVP membership; and (4) God

membership. The more expensive the membership,the more access a user gets to the

RaidForums website. The God membership,for example, offers almost unlimited access to the

RaidForums website and features.


        6.     The RaidForums website sold "credits" to members, which granted members

access to privileged areas ofthe website and enabled members to "unlock" and download stolen

access devices, means of identification, and data from compromised databases, among other

items. Members could also earn credits through other means including, but not limited to, by

posting instructions on how to commit certain illegal acts.
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        7.     The RaidForums website had different forums where members could post about

different subjects and offer items for sale. The forums included "Cracking,""Leaks," and

"Marketplace," among others. The "Leaks" forum had a sub-forum entitled the "Leaks Market."

The "Leaks Market" description stated that it was "[a] place to buy/sell/trade databases and

leaks." The "Leaks Market" included for-sale listings for stolen credit card account information,

means of identification, and hacked online accounts and databases.

        8.     COELHO offered an "Official Middleman Service" for a fee on the RaidForums


website. More specifically, COELHO offered to accept cryptocurrency from the purchaser and

files, including stolen access devices and means of identification, from the seller. COELHO then

verified the contents ofthe files and conversed with the buyer and seller. Once the parties were

satisfied, COELHO released the funds to the seller and the files, including stolen access devices

and means of identification, to the purchaser.
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                                             COUNT 1


                          {Conspiracy to Commit Access Device Fraud)

       THE GRAND JURY FURTHER CHARGES THAT:


        9.      The Grand Jury re-alleges and incorporates by reference the General Allegations

of this Indictment.


        10.     From at least mid-2016 to the present, in the Eastern District of Virginia and

elsewhere, the defendant, DIOGO SANTOS COELHO (a/k/a "Omnipotent,""Downloading,"

"Shiza," and "Kevin Maradona"), did knowingly and with the intent to defraud, combine,

conspire, confederate, and agree with other persons both known and unknown to the Grand Jury,

to commit the following offenses:

             a. To knowingly and with the intent to defraud, traffic in and use one and more

                unauthorized access devices during a one-year period, and by such conduct obtain

                things of value aggregating $1,000 and more during that period, in violation of 18,

                United States Code, Sections 1029(a)(2);

             b. To knowingly and with the intent to defraud, possess fifteen and more

                unauthorized access devices, said conduct affecting interstate and foreign

                commerce, in violation of Title 18, United States Code, Section 1029(a)(3); and

             c. Without the authorization ofthe issuers of access devices, knowingly and with the

                intent to defraud, solicit individuals with the purpose of selling unauthorized

                access devices, said conduct affecting interstate and foreign commerce, in

                violation of Title 18, United States Code, Section 1029(a)(6).
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                               WAYS. MANNERS. AND MEANS


       The primary purpose ofthe conspiracy was to make money through the trafficking in

stolen access devices. The ways, manners, and means by which the defendant, DIOGO

SANTOS COELHO,and his co-conspirators carried out the primary purpose ofthe conspiracy

included, but were not limited to, the following:

        11.    It was part ofthe conspiracy that the defendant owned and operated the

RaidForums website.


        12.    It was part ofthe conspiracy that the defendant operated the RaidForums website

with the help of co-conspirators, who operated as Administrators ofthe website.

        13.    It was further part ofthe conspiracy that the defendant and his co-conspirators

posted offers to sell stolen access devices including, but not limited to, credit card account

numbers and card verification values, on the RaidForums website.

        14.    It was further part ofthe conspiracy that the defendant offered to sell "credits" to

users, who could then use these "credits" to purchase stolen access devices on the RaidForums

website, among other items.

        15.    It was further part ofthe conspiracy that the defendant offered a fee-based service,

described as an "Official Middleman Service" on the RaidForums website, which enabled

purchasers and sellers to verify the means of payment and contraband files being sold prior to

executing the purchase and sale.

        16.    It was further part ofthe conspiracy that the defendant and his co-conspirators

accepted payment in cryptocurrency in return for the sale of stolen access devices.
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                                          OVERT ACTS


       In furtherance ofthe conspiracy, and to effect the objects thereof, the defendant, DIOGO

SANTOS COELHO,and his co-conspirators committed overt acts in the Eastem District of

Virginia and elsewhere, including, but not limited to, the following:

        17.    On or about July 24,2018, COELHO,using the moniker "Omnipotent," made a

posting on the RaidForums website, in which he advertised an "Official Middleman Service."

The posting indicated that the service would enable both buyers and sellers to complete their

transactions, and that COELHO would verify the contents offiles to ensure buyers received the

data that they expected to purchase.

        18.    On or about October 18,2018, an unknown co-conspirator using the moniker

"mariecurie" made a posting on the RaidForums website, which offered for sale stolen access

devices, to wit, usemames and passwords associated with an electronic commerce company in

the United States("Company 1").

        19.    On or about October 22, 2018, in the Eastem District of Virginia and elsewhere,

an undercover law enforcement officer used eight credits, which the officer purchased on the

RaidFomms website, to "unlock" and download the Company 1 usemames and passwords that

user "mariecurie" offered for purchase.

        20.    On or about December 16,2018, COELHO,who was using the moniker

"Downloading," made a posting on the RaidForums website, which offered for sale 2.3 million

credit card numbers, including the names,addresses, and phone numbers associated with the

credit card numbers, which were purportedly obtained from a breach of records belonging to

United States hotels.
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        21.    On or about February 5, 2019, in the Eastern District of Virginia and elsewhere,

COELHO,who was using the moniker "Downloading," informed an undercover law

enforcement officer that the stolen credit card information described in paragraph 20 were still

available for sale.


        22.    On or about March 4,2019, in the Eastern District of Virginia and elsewhere,

COELHO,who was using the moniker "Downloading," provided an undercover law

enforcement officer with three stolen access devices, to wit, payment card account numbers, card

verification values, expiration dates, and the names associated with the payment cards.

COELHO agreed to this exchange to convince the undercover law enforcement officer that

"Downloading" could be trusted to sell approximately 1.1 million stolen access devices in

exchange for a Bitcoin amount equivalent to $4,000.

        23.    On or about March 5, 2019, in the Eastern District of Virginia and elsewhere,

COELHO,who was using the monikers "Downloading,""Omnipotent," and "Shiza," arranged

to both sell and serve as the middleman in the transaction to sell approximately 1.1 million stolen

access devices to the undercover law enforcement officer. COELHO received a Bitcoin amount

equivalent to $4,000; however, he did not provide the stolen access devices.

        24.    On or about April 5,2020,an unknown co-conspirator using the moniker

"fairbanksfires" made a posting on the RaidForums website, which offered for sale stolen access

devices associated with an online tax filing company in the United States. The stolen access

devices included, but were not limited to, social security numbers, email addresses, passwords,

and bank routing and account numbers.

        25.    On or about April 25,2020, COELHO,who was using the moniker

"Omnipotent," executed his middleman service and aided and abetted "fairbanksfires" in selling
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stolen access devices to a confidential human source (the "CHS"), who was working with the

Federal Bureau of Investigation. The CHS transferred a Bitcoin amount equivalent to $4,000 to

COELHO in furtherance ofthis transaction. COELHO then provided the CHS with a link,

which enabled the CHS to download the stolen access devices.


        26.     On or about April 27,2020,the CHS communicated to COELHO that the funds

could be released to "fairbanksfires."


        27.     On or about July 24,2020,the RaidForums website offered for sale in its Official

Database Index a 2015 database, which included stolen access devices containing the names,

emails, passwords, and addresses, among other information, belonging to individuals who had

accounts with a major broadcasting and cable company in the United States("Company 2").

        28.     On or about July 24,2020, in the Northern District ofIllinois and elsewhere, an

undercover law enforcement officer used eight credits, which the officer purchased on the

RaidForums website, to "unlock" and download the Company 2 database, as described in

paragraph 27.

       (All in violation of Title 18, United States Code, Section 1029(b)(2))
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                                            COUNT 2


       (Access Device Fraud — Using or Trafficking in an Unauthorized Access Device)

       THE GRAND JURY FURTHER CHARGES THAT:


        29.    The factual allegations in paragraphs 1 through 8 and 20 to 23 are re-alleged and

incorporated as if fully set forth below.

        30.    From on or about February 5,2019 until on or about March 5, 2019, in the

Eastern District of Virginia and elsewhere,the defendant, DIOGO SANTOS COELHO (a/k/a

"Omnipotent,""Downloading,""Shiza," and "Kevin Maradona"), knowing and with the intent

to defraud, did traffic in and use one and more unauthorized access devices, to wit, payment card

account numbers, card verification values, expiration dates, and the names associated with the

payment cards, during a one-year period, to wit, from January 1,2019,through December 31,

2019, and by such conduct did obtain things of value aggregating $1,000 and more during that

period, to wit, the equivalent of$4,000 in Bitcoin, said trafficking affecting interstate and foreign

commerce, in that the trafficking occurred via the Internet, and between computers located inside

the Commonwealth of Virginia, and computers located outside ofthe Commonwealth of

Virginia.

        (In violation of Title 18, United States Code, Section 1029(a)(2) and 2)
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                                            COUNT 3


     (Access Device Fraud — Possession ofFifteen or More Unauthorized Access Devices)

       THE GRAND JURY FURTHER CHARGES THAT:


        31.    The factual allegations in paragraphs 1 through 8 and 27 to 28, are re-alleged and

incorporated as if fully set forth below.

        32.    On or about July 24,2020, within the jurisdiction ofthe United States and in an

offense begun and committed outside the jurisdiction of a particular State or district, including in

Portugal, Germany,and elsewhere,the defendant, DIOGO SANTOS COELHO (a/k/a

"Omnipotent,""Downloading,""Shiza," and "Kevin Maradona"), did knowingly and with intent

to defraud, possess fifteen and more unauthorized access devices as defined by 18 U.S.C.

§ 1029(e)(2), and (e)(3), to wit, emails, passwords, and addresses, among other information,

belonging to individuals who had accounts with a major broadcasting and cable company in the

United States, said possession affecting interstate and foreign commerce.

        (In violation of Title 18, United States Code, Section 1029(a)(3) and 2)




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                                          COUNTS 4-5


                       (Access Device Fraud —Unauthorized Solicitation)

        THE GRAND JURY FURTHER CHARGES THAT:


        33.    The factual allegations in paragraphs 1 through 8 and 18 through 23 are re-alleged

and incorporated as iffully set forth below.

        34.    On or about the dates identified below, in the Eastern District of Virginia and

elsewhere, the defendant, DIOGO SANTOS COELHO (a/k/a "Omnipotent,""Downloading,"

"Shiza," and "Kevin Maradona"), did knowingly and with intent to defraud solicit other persons

for the purpose of offering unauthorized access devices as defined by 18 U.S.C. § 1029(e)(2),

and (e)(3), to wit, the access devices as set forth below in each count, without the authorization

of the issuer ofthe access devices, said solicitation affecting interstate and foreign commerce, in

that the solicitation occurred via the Internet, and between computers located inside the

Commonwealth of Virginia, and computers located outside ofthe Commonwealth of Virginia.

  Count                 Date                             Description of Access Device

    4          October 18 to 22,2018           Usemames and passwords associated with an
                                               electronic commerce company in the United States
    5          December 16,2018 to          Payment card account numbers, card verification
                  March 5,2019              values, expiration dates, and the names associated
                                               with the payment cards

        (In violation of Title 18, United States Code, Section 1029(a)(6) and 2)




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                                           COUNT 6


                                   {Aggravated Identity Theft)

       THE GRAND JURY FURTHER CHARGES THAT:


        35.    The factual allegations in paragraphs 1 through 8 and 20 through 23 are re-alleged

and incorporated as iffully set forth below.

        36.    From on or about December 16,2018 until on or about March 5,2019, in the

Eastern District of Virginia and elsewhere,the defendant, DIOGO SANTOS COELHO (a/k/a

"Omnipotent,""Downloading,""Shiza," and "Kevin Maradona"), did knowingly transfer,

possess, and use, without lawful authority, a means of identification of another person during and

in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c),to wit, access device fraud,

in violation of 18 U.S.C. §§ 1029(a)(2) and (a)(6) as alleged in Counts 2 and 5 ofthis Indictment,

knowing that the means of identification belonged to another actual person.

        (In violation of Title 18, United States Code, Section 1028A(a)(l) and 2)




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                                    FORFEITURE NOTICE


        THE GRAND JURY HEREBY FINDS THAT:


        37.     There is probable cause that the property described in this NOTICE OF

FORFEITURE is subject to forfeiture pursuant to the statutes described herein.

        38.     The defendant is hereby notified, pursuant to Fed.R.Crim.P. 32(a), that upon

conviction ofthe offenses set forth in Counts 1-5 of this Indictment, the defendant, DIOGO

SANTOS COELHO,shall forfeit to the United States of America, pursuant to Title 18, United

States Code, Section 982(a)(2)(B) any property constituting, or derived from,proceeds the

defendant obtained directly or indirectly, as the result of such violation; and pursuant to Title 18,

United States Code, Section 1029(c)(1)(C), any personal property used or intended to be used to

commit the offenses. The assets subject to forfeiture include, but are not limited to, the

following:

             a. The domain name RaidForums.com;

             b. The domain name raid.lol;

             c. The domain name rf.ws;

             d. One Samsung smartphone model SM-G950F;

             e. One Lenovo tablet with serial number HGER85N8;

             f. One Acer laptop with serial number NXGNLEB00272108E6B7200;

             g. One Yubico authentication device;

             h. One Sony Digital Camera with serial number 4098514; and

             i. A money judgment in the amount of not less than $215,571, representing the

proceeds the defendant obtained as a result ofthe violations described in this Indictment.




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       39.      Pursuant to 21 U.S.C. § 853(p), the defendant shall forfeit substitute property, if,

by any act or omission of the defendant, the property referenced above cannot be located upon

the exercise of due diligence; has been transferred, sold to, or deposited with a third party; has

been placed beyond the jurisdiction ofthe Court; has been substantially diminished in value; or

has been commingled with other property which cannot be divided without difficulty.

       (All in accordance with Title 18, United States Code, Section 982(a)(2)(B), Title 18,
       United States Code, Section 1029(c)(1)(C), and Federal Rule of Criminal Procedure
       32.2).

                                                       A TRUE BILL




                                                       FOREPERSON


        Raj Parekfi
        Acting United States Attorney


By:
       Carina A. CueTlar
        Assistant United States Attorney




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No.      1:21-CR-00114


                                       UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF VIRGINIA
                                               Alexandria Division
                                       THE UNITED STATES OF AMERICA
                                                         vs.

                                            DIOGO SANTO COELHO
               a/k/a "Omnipotent", a/k/a "Downloading", a/k/a "Shiza", a/k/a "Kevin Maradona"


                                                   INDICTMENT
      Count 1: Conspiracy to Commit Access Device Fraud
      (In violation of Title 18, United States Code,Section 1029(b)(2))
      Count 2: Access Device Fraud — Using or Trafficking in an Unauthorized Access Device
      (in violation of Title 18, United States Code,Sections 1029(a)(2) and 2)
      Count 3: Access Device Fraud — Possession of Fifteen or More Unauthorized Access Devices
      (In violation of Title 18, United States Code,Sections 1029(a)(3) and 2)
      Counts 4-5: Access Device Fraud — Unauthorized Solicitation
      (In violation of Title 18, United States Code, Sections 1029(a)(6) and 2)
      Count 6: Aggravated Identity Theft
      (In violation of Title 18, United States Code,Section 1028A)
      Forfeiture Notice
      (in violation of Title 21 United States Code, Section 853)
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                                                                                  Foreman


                            Filed in open court this        O b day,
                            of May A. D. 2021

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                             Bail, S
